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IN THE UNITED STATES DISTRICT COURT

FoR THE DISTRICT oF MoNTANA Fl L E D
BILLINGS DIvISIoN
JAN 3 1 2019

UNITED sTATES oF AMERICA CR 18-31-BLG-st Di§:§’Crt“g,§’§§,f§§,‘§‘_@g‘§,`i§gs

v. 0RDER sETTn\IG CoNl)ITIoNs

oF RELEASE

sTEvEN WAYNE PHILLIPS,

Defendant

 

 

IT IS ORDERED that the Defendant’s release is subject to these conditions:
Defendant must not violate federal, state, local, or tribal law while on release.
Defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § l4135a.

Defendant must advise the Pretrial Services Offlcer in writing before making any change of residence or
telephone number.

Defendant must appear in court as required and, if convicted, must surrender as directed to serve a
sentence that the court may impose.

ADDITIONAL CONDITIONS OF RELEASE

IT IS FURTHER ORDERED that the Defendant’s release is subject to the following additional conditions:

(5)

(6)

(7)

(8)
(9)

[a] Defendant must submit to supervision by, and report to, the Pretrial Services Offlcer, telephone number
(406) 657-6287 no later than immediately following today’s court proceedings and thereafter at such times
and in such manner as designated by the Offlcer.

[b] Defendant must continue or actively seek employment

[f] Except upon prior approval by the Pretrial Services Offlcer, the Defendant's travel is restricted to
Yellowstone County, Montana.

[k] Defendant must not possess a i`lrearm, destructive device, or other weapon.

[l] Defendant must not use any alcohol.

(10) [m] Defendant must not use or unlawfully possess a narcotic drug or other controlled substances defined in

21 U.S.C. § 802, unless prescribed by a licensed medical practitioner.

(l l) [n] Defendant must submit to testing for a prohibited substance if required by the Pretrial Services Officer.

Testing may be used with random frequency and may include urine testing, the wearing of a sweat patch, a

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remote alcohol testing system, and any form of prohibited substance screening or testing. Defendant must
not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of prohibited substance
screening or testing. Defendant shall pay all costs associated with the program, unless the Pretrial Services
Officer determines Defendant is financially unable to pay.

(12) [o] Defendant must participate in a program of inpatient or outpatient substance abuse evaluation, therapy
and counseling if directed by the Pretrial Services Officer.

(13) [r] Defendant must report as soon as possible to the Pretrial Services Officer every contact with law
enforcement personnel, including arrests, questioning, and traffic stops.

(14) [s] Defendant must not ingest or inhale any toxic substance such as, but not limited to, synthetic marijuana
and/or any synthetic stimulant that is not manufactured for human consumption, for the purpose of altering
a mental or physical state.

(15) [t] Defendant shall not purchase, possess, use, distribute or administer marijuana, or obtain or possess a
medical marijuana card or prescription.

(16) Defendant shall reside with TARA LOUCKS at 1645 AUGSBURG DRIVE, BILLINGS, MONTANA,
5 9105 , and not change this residence without prior approval of the Pretrial Services Officer.

TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant
for your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could
result in a term of imprisonment, a fine, or both.

The commission of a Federal offense while on pretrial release will result in an additional sentence of a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to 10 years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation. lt is a crime punishable by up to ten years of imprisonment, and a $250,000 fine
or both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant, or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or
attempted killing.

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed. If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall
be fined not more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for
any other offense. ln addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of Defendant

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I acknowledge that I am the Defendant in this case and that I am aware of the conditions of release. I promise to
obey all conditions ofrelease, to appear as directed, and to surrender for service of any sentence imposed. I am aware

of the penalties and sanctions set forth above.
§§ z z/j

Signature of Defendant

IT IS FURTHER ORDERED that the Defendant is RELEASED after processing by the United States
Marshal Service.

DATED this 3 lst day of January, 2019.

Timothy J. Ca 2%1
United States agistrate Judge

